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                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION

 LEAGUE OF UNITED LATIN AMERICAN                    §
 CITIZENS, et al.                                   §
                                                    §
                   Plaintiffs,                      §
                                                                     Case No. 3:21-cv-00259
 V.                                                 §
                                                                          [Lead Case]
                                                    §
 GREG ABBOTT, et al.,                               §
                                                    §
                   Defendants.                      §

 ROY CHARLES BROOKS, et al.,                        §
                                                    §
                   Plaintiffs,                      §
 V.                                                 §
                                                                     Case No. 1:21-cv-00991
                                                    §
                                                                      [Consolidated Case]
                                                    §
 GREG ABBOTT, et al.,                               §
                                                    §
                   Defendants.                      §


                    STATE DEFENDANTS’ OBJECTIONS
       TO THE BROOKS PLAINTIFFS’ PRELIMINARY-INJUNCTION EXHIBITS

         The State Defendants object to the exhibits offered by the Brooks Plaintiffs in support of their

preliminary-injunction motion as follows:

EXHIBIT 1: DECLARATION OF KEL SELIGER
Paragraph 7–8: Speculation, relevance, falsity: Seliger misstates what the 2013 letter from then-
   Attorney General Abbott says. Further, that letter does not make it more likely that the Legislature
   drew SD10’s lines with the intent to discriminate against voters based on race, with race as a
   predominating factor, or in a manner that has a disparate impact on certain voters. Seliger’s
   statements about the reasons the redistricting committee approved the benchmark Senate map
   and what the committee members “all knew” are speculation for which he furnishes no basis.
Paragraph 9: Vague; speculation. Seliger does not define “racially polarized voting”—for instance,
   which races are polarized and in which elections. His statement about the knowledge of current
   and former Redistricting Committee members is speculation without foundation.
Paragraph 10: Hearsay: Seliger’s statements about what Sen. Joan Huffman said are hearsay that
   does not come within an exception.
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Paragraph 12: Improper legal conclusion; lack of foundation; speculation. Seliger’s statement
   that SD10 violates the Voting Rights Act and the U.S. Constitution is a legal conclusion committed
   to the Court. Even if it could be proper testimony, Seliger is not tendered as an expert and has
   neither the expertise nor the education to render such an opinion, nor does he explain the basis
   for his opinion. In particular, he does not state a basis for his belief that SD10’s boundaries were
   adopted with an intention to discriminate against voters on the basis of their race, as would be
   required for SD10 to violate the U.S. Constitution.

EXHIBIT 2: DECLARATION OF BEVERLY POWELL
Paragraphs 10, 12: Vague; improper opinion. Powell does not describe which “minority
   populations” were “cleaved apart.” Further, Powell is not tendered as an expert and offers no
   basis for her opinion that the unidentified “minority populations” constitute a single community
   of interest capable of being “cleaved apart.”
Paragraph 14: Vague; irrelevant. Plaintiffs allege that Senator Joan Huffman knew of and
   deliberately drew district lines based on residents’ race. Powell states that Huffman looked at
   certain maps containing racial data “for longer than less than a second.” That could be any amount
   of time of one second or longer. Such a statement is too vague to tend to show that Huffman
   gathered information from the maps that would enable her to draw district lines based on race.

EXHIBIT 3: DECLARATION OF GARRY JONES
Paragraph 14: Vague; irrelevant. Plaintiffs allege that Senator Joan Huffman knew of and
   deliberately drew district lines based on residents’ race. Jones states that Huffman looked at certain
   maps containing racial data “for longer than less than a second.” That could be any amount of
   time of one second or longer. Such a statement is too vague to tend to show that Huffman
   gathered information from the maps that would enable her to draw district lines based on race.
Paragraphs 14–15: Vague; improper opinion. Jones does not describe which “minority
   populations” were “cleaved apart.” Further, Jones is not tendered as an expert and offers no basis
   for his opinion that the unidentified “minority populations” constitute a single community of
   interest capable of being “cleaved apart.”

EXHIBIT 3-E: SEPTEMBER 16, 2021, EMAIL FROM GARRY JONES
Hearsay: If offered to prove the truth of the matters asserted in it, the email is hearsay that does not
  fall within an exception.
Improper opinion: Jones is not tendered as an expert. If the email is offered to prove the truth of
  the matters asserted in it, his statement that SD10 “is unlawful intentional racial discrimination
  and will produce a discriminatory effect” is improper opinion testimony—that determination is
  the Court’s to make, Jones does not have the training or expertise necessary to offer such an
  opinion, and he offers no basis for that opinion.




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EXHIBIT 3-G: SEPTEMBER 18, 2021, EMAIL TO ALL SENATORS REGARDING SD10
Hearsay: If offered to prove the truth of the matters asserted in it, the email is hearsay that does not
  fall within an exception.

EXHIBIT 3-J: AGENDA OF SEPTEMBER 24, 2021, REDISTRICTING COMMITTEE MEETING
Hearsay: If offered to prove the truth of the matters asserted in them, the written testimonies are
  hearsay that does not fall within an exception.

EXHIBIT 3-K: SEPTEMBER 16, 2021, LETTER FROM POWELL
Hearsay: If offered to prove the truth of the matters asserted in them, the letter and its attachments
  are hearsay that does not fall within an exception.
Improper opinion: Powell is not tendered as an expert. If the email is offered to prove the truth of
  the matters asserted in it, her statements are improper opinion testimony—that determination is
  the Court’s to make, Powell does not have the training or expertise necessary to offer such an
  opinion, and she offers no basis for that opinion.

EXHIBITS 3-L AND 3-M: EMAILS TO HOUSE MEMBERS
Hearsay: The contents of these emails are identical to those of Exhibit 3-G. As with that exhibit, if
  offered to prove the truth of the matters asserted in it, each email is hearsay that does not fall
  within an exception.

EXHIBITS 4 AND 4-A: RICK SVATORA DECLARATION AND HANDWRITTEN NOTES
Hearsay: The notes are hearsay that does not fall within an exception. In particular, they are not records
   of a regularly conducted activity. Svatora’s statement that he takes notes during “important
   meetings” establishes that it is done at his discretion rather than regularly based on Svatora’s
   subjective evaluation of the meeting’s importance. Records come within the exception only if they
   are based on an objective, regular process rather than the declarant’s state of mind.

EXHIBIT 5: CHRIS TURNER DECLARATION
Paragraphs 5–9: Relevance; improper opinion testimony; lack of foundation. Turner’s
   statements regarding the Congressional redistricting map are irrelevant as that map is not at issue
   in this litigation. Turner’s statements regarding what “ordinarily” happens to a bill and the lack of
   testimony on the Senate redistricting bill are not relevant because redistricting bills are not
   “ordinary” bills—particularly redistricting bills drawing district lines for the other chamber of the
   Legislature. In this case, it is deviations from what would normally happen to a Senate redistricting
   bill in the House that could establish deviations from normal procedure and substance. Further,
   the 2021 Legislative session is the first time he has served in the House while it considers
   redistricting bills; he offers no basis for his testimony on the usual practices employed when the
   Legislature in general, or the House in particular, considers redistricting bills.



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Paragraphs 7–8, 10–11: Relevance; improper opinion testimony. Turner is not tendered as an
   expert in redistricting or redistricting law, and there is no basis for his opinion on the importance
   of expert testimony to redistricting committees in formulating redistricting plans. His
   characterization of the former Section 5 preclearance process as a chance for “the Department of
   Justice or the federal courts to advise whether [Texas’s] redistricting maps were lawful” is a
   misstatement of the law. His statements regarding “cracking,” crossover districts, and minority
   voters’ preferred candidates are not supported by a proper foundation, and he does not have the
   experience or education to offer such opinions.
Paragraphs 7, 9: Hearsay. Turner’s statements about what other committee members requested are
   hearsay that does not fall within an exception, as is his statement about Rep. Todd Hunter’s
   response to such a request.

EXHIBITS 6 AND 6-A–C: MARK GRABER DECLARATION AND 2017 EMAILS
Relevance: Anna Mackin’s representation of the State of Texas in 2017, including her sending emails
   regarding exhibits in that trial, does not make it more likely that SD10’s borders were drawn with
   the intent to discriminate against certain voters, with a predominant focus on the race, or in a way
   that causes a disparate impact on certain voters.

EXHIBIT 6-D: APRIL 18, 2013, LETTER FROM ATTORNEY GENERAL ABBOTT TO
REDISTRICTING CHAIRMEN
Relevance: A letter written in 2013 regarding boundaries adopted in 2011 does not make it more
   likely that SD10’s boundaries were adopted in 2021 with the intent to discriminate against voters
   due to their race, with race as a predominant consideration, or in a way that has a disparate impact
   based on race.

EXHIBITS 6-E–H: 2013 SENATE PROCEEDINGS
Relevance: Senate proceedings in 2013 regarding changes to boundaries adopted in 2011 do not make
   it more likely that SD10’s boundaries were adopted in 2021 with the intent to discriminate against
   voters due to their race, with race as a predominant consideration, or in a way that has a disparate
   impact based on race.

EXHIBIT 7: DECLARATION OF MATT BARRETO
Authenticity: The declaration is not signed and therefore lacks necessary indicia of authenticity.
Reliability; analytical gap: The declaration lacks sufficient indicia of reliability to be admitted as
   expert testimony. See Black v. Food Lion, Inc., 171 F.3d 308, 312 (5th Cir. 1999). Further, there is an
   unexplained analytical gap between the data and Barreto’s conclusion. Though Plaintiffs’ allegation
   is that “recent general and primary elections illustrate” cohesive minority voting, Compl. ¶ 80
   (emphasis added), Barreto’s purported analysis includes no data from primary elections. As the
   State Defendants’ opposition demonstrates, Alford Initial Expert Report, ¶¶ 4.1-4.2, these
   contests frequently pit a candidate preferred by one discrete racial or ethnic group against another


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   candidate from another such group. Barreto’s failure to address any of this data, which undermines
   his ultimate conclusion, demonstrates that his method and his conclusions are not reliable and
   that there is an unbridgeable analytical gap between his data and his conclusion. His declaration
   should therefore be struck.
Reliability; analytical gap: Barreto discusses the growth of the Asian American population in SD10.
   E.g., at 1–4, 6–9. However, he identifies no facts concerning Asian-American voting patterns and
   does not explain how they affect his analysis of racially polarized voting. In fact, several of his
   tables show calculations of the specific voting percentages of African Americans and Latinos, but
   none include Asian Americans. If Barreto includes Asian Americans in his analysis, he neither
   explains how they factor into that analysis or the effect that factor has. If he does not include
   Asian Americans in his analysis, he omits without explanation a group that is, in Plaintiffs’ own
   theory of the case, part of the “minority coalition” and whose contributions to (or diminutions
   of) that coalition must be considered to determine whether racially polarized voting among Anglos
   and “minorities” exists in SD10. Either way, Barreto’s declaration demonstrates that his method
   and conclusions are unreliable and that there is an unbridgeable analytical gap between his data
   and his conclusion. His declaration should be struck.

                                         CONCLUSION

       Defendants respectfully request that the Court sustain their objections, strike the indicated

exhibits, and exclude those exhibits from consideration of the Brooks Plaintiffs’ request for a

preliminary injunction.




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Date: December 20, 2021                   Respectfully submitted.

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                                   CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on December 20, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
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